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                            Exhibit 20
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                                    HIGHLY CONFIDENTIAL

                                                                       Page 1

   1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
   2
          - - - - - - - - - - - - - -x
   3          SONY MUSIC                       :
              ENTERTAINMENT, et al.,           :
   4                                           :
                      Plaintiffs,              :
   5                                           :      Case No.
                  v.                           :      1:18-cv-00950-LO-JFA
   6                                           :
              COX COMMUNICATIONS,              :
   7          INC., and COXCOM, LLC,           :
                                               :
   8                  Defendants.              :
          - - - - - - - - - - - - - -x
   9                                                     Friday, June 21, 2019
                                                         Washington, D.C.
  10
  11                     HIGHLY CONFIDENTIAL
  12
  13                    VIDEOTAPED DEPOSITION OF JILL LESSER,
  14      called for oral examination by counsel for the
  15      Defendants, pursuant to notice, at the law offices of
  16      Winston & Strawn, LLP, 1700 K Street, Northwest,
  17      Washington, D.C. 20006-3817, before Christina S.
  18      Hotsko, RPR, CRR, of Veritext Legal Solutions, a
  19      Notary Public in and for the District of Columbia,
  20      beginning at 9:03 a.m., when were present on behalf
  21      of the respective parties:
  22

                                     Veritext Legal Solutions
       212-267-6868                    www.veritext.com                 516-608-2400
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                                                                     Page 111

   1      because there were some ISPs that sent a couple

   2      additional alerts, as I recall, and there was

   3      flexibility to do that in the MOU.

   4                  But once a user had gotten six alerts and

   5      had been mitigated, they were, you know, kind of

   6      out of the system, i.e., either the system worked

   7      or didn't work.       And so if they got another

   8      notice, they would, you know, essentially be in a

   9      regular pool of users who were eligible, you know,

  10      to have legal action taken against them, or the

  11      ISP, whether it was -- you know, whatever action

  12      the ISP was going to take or the content owner was

  13      going to take, so sort of as if the program didn't

  14      exist.

  15      BY MR. HAMILTON:

  16             Q.   So termination wasn't a part of these

  17      steps?

  18                  MS. MUSTICO:        Objection.         Form.

  19      Foundation.

  20                  THE WITNESS:        Termination was not part of

  21      the educational system of the Copyright Alert

  22      System.




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   1      BY MR. HAMILTON:

   2             Q.   Was it part of the Copyright Alert System

   3      in any form?

   4                  MS. MUSTICO:        Objection.         Form.

   5      Foundation.

   6                  THE WITNESS:        Well, the whole system was

   7      an educational system.           So it wasn't -- it wasn't

   8      addressed.

   9      BY MR. HAMILTON:

  10             Q.   So under CAS, termination wasn't a step

  11      or a part --

  12             A.   Correct.

  13             Q.   -- of the process?

  14                  MS. MUSTICO:        Jason, we've been going for

  15      another hour.       Is it time -- whenever you can take

  16      a break.

  17                  MR. HAMILTON:        If you need a break.             If

  18      not, because I know we have limited time, I'd like

  19      to keep going for a little bit further.                    It's

  20      really up to you guys.           I'm not going to say no

  21      breaks.

  22                  MS. MUSTICO:        Can we take five-minute




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